Case 5:18-cv-07182-EJD Document 268 Filed 12/27/24 Page 1 of 24

IN THE UNITED STATES COURT OF APPEALS FOR THE NINTH
CIRCUIT

CASE NO.: 24-5538
NEO4J, INC., et al.,
Plaintiffs-Appellees,

Vv.

JOHN MARK SUHY,
Defendant-Appellant.

DEFENDANT-APPELLANT’S EMERGENCY MOTION TO STAY
ENFORCEMENT OF JUDGMENT PENDING APPEAL

TABLE OF AUTHORITIES
Cases
Dillon v. City of Chicago, 866 F.2d 902 (7th Cir. 1988)

Golden Gate Restaurant Ass’n v. City & County of San Francisco, 512
F.3d 1112 (9th Cir. 2008)

Leiva-Perez v. Holder, 640 F.3d 962 (9th Cir. 2011)
Nken v. Holder, 556 U.S. 418 (2009)
Statutes

Virginia Code § 55.1-136(A)
Case 5:18-cv-07182-EJD Document 268 Filed 12/27/24 Page 2 of 24

I. INTRODUCTION

Defendant-Appellant John Mark Suhy respectfully seeks an emergency
stay of enforcement of the monetary judgment entered in the United
States District Court for the Northern District of California, pending
appeal. This motion requires an emergency ruling to prevent the
imminent harm of garnishment proceedings scheduled for January 10,
2025, and to allow Appellant to proceed with a Chapter 7 bankruptcy
filing on January 9, 2025, if necessary. In the alternative, Appellant
respectfully requests that this Court temporarily stay the judgment
while it considers this motion to ensure that irreparable harm is
avoided. This motion follows the denial of a similar motion in the

district court.

Appellant faces irreparable harm due to wage garnishment that
threatens his financial stability and ability to sustain his family. While
Appellant is willing to provide detailed evidence of income, expenses,
and garnishment amounts under seal or for in-camera review, it is clear

that forced bankruptcy is imminent and would eliminate any possibility
Case 5:18-cv-07182-EJD Document 268 Filed 12/27/24 Page 3 of 24

of recovery for Appellees.

Appellant intends to file for Chapter 7 bankruptcy in Virginia on
January 9, 2025, prior to the garnishment review date scheduled in
Fairfax Circuit Court for January 10, 2025., a measure that will not
only halt all collection activities under 11 U.S.C. § 362 but also render
the judgment effectively uncollectible. See Exhibit A. Forced
bankruptcy would eliminate any potential recovery for Appellees while
further burdening other creditors unnecessarily., which will
automatically halt all collection efforts under 11 U.S.C. § 362. This
filing will effectively eliminate any potential recovery for Appellees
should the appeal fail, making a stay equitable and necessary.
Moreover, Appellant’s garnishment rate projects repayment over a
period of more than 20 years, underscoring the impracticality of

continued enforcement without resolution of the appeal.

This appeal is of significant public importance, addressing open-source
licensing and compliance under the GPLv3 framework. The importance

is underscored by a forthcoming amicus brief from a prominent open-
Case 5:18-cv-07182-EJD Document 268 Filed 12/27/24 Page 4 of 24

source organization, demonstrating widespread interest in the appeal’s

outcome.

Appellant proposes an alternative security arrangement, offering
structured monthly payments of $200 during the pendency of the
appeal. This ensures equitable compliance while minimizing prejudice

to both parties.

II. LEGAL STANDARD

Under Federal Rule of Appellate Procedure 8(a)(1), the Ninth Circuit
evaluates motions to stay judgment enforcement pending appeal using
the factors set forth in Dillon v. City of Chicago, 866 F.2d 902 (7th Cir.

1988). The five factors include:

. The complexity of the collection process;

2. The time required to obtain judgment after appeal;

3. The confidence in the availability of funds to pay the judgment;
4, The necessity of a bond given the defendant's ability to pay; and
5. The defendant’s financial situation and its impact on other

creditors.
Case 5:18-cv-07182-EJD Document 268 Filed 12/27/24 Page 5of 24

Additionally, the Ninth Circuit has recognized in Leiva-Perez v. Holder,
640 F.3d 962 (9th Cir. 2011), that a movant need not demonstrate
“more likely than not” success on appeal, but rather a “reasonable
probability” or “fair prospect” when the balance of hardships tips
strongly in the movant’s favor. Similarly, in Golden Gate Restaurant
Ass‘n v. City & County of San Francisco, 512 F.3d 1112 (9th Cir. 2008),
the court emphasized that the balance of hardships and public interest

can outweigh a lesser showing on the merits.

Ill. ARGUMENT

A. Complexity of the Collection Process

The ongoing garnishment of Appellant’s wages reflects a
straightforward collection process. However, the disproportionate
burden of garnishment risks forcing Appellant into bankruptcy, which
would complicate recovery efforts and eliminate Appellees’ ability to
recover entirely. Granting a stay would prevent unnecessary disruption
while preserving Appellees’ ability to collect should the appeal be
denied, rather than forcing an immediate bankruptcy that would

eliminate their recovery entirely.
Case 5:18-cv-07182-EJD Document 268 Filed 12/27/24 Page 6 of 24

B. Time Required to Obtain Judgment After Appeal

The anticipated timeline for resolving this appeal is within a reasonable
period, during which Appellant’s alternative payments will maintain
partial compliance. A stay preserves the status quo and prevents
financial harm without causing undue delay. Moreover, the impending
bankruptcy filing on January 9, 2025, would halt collection efforts
regardless, further mitigating any perceived prejudice to Appellees.
This motion must be decided on an emergency basis to avoid
unnecessary harm and to ensure Appellant’s financial stability prior to
the garnishment review date of January 10, 2025. Appellant is prepared
to provide additional financial records, under seal or for in-camera
review, to substantiate the claims of financial hardship and to clarify

the practical limitations of further enforcement efforts.

C. Availability of Funds to Pay the Judgment

Appellant’s financial situation is precarious. Current garnishment rates
project over 20 years to satisfy the judgment, rendering immediate
enforcement ineffective. Appellant resides in Virginia, where he and his

spouse own all property and assets, including their home and bank
Case 5:18-cv-07182-EJD Document 268 Filed 12/27/24 Page 7 of 24

accounts, as tenants by the entirety. Under Virginia Code § 55.1-136(A),
property held as tenants by the entirety, including both real and
personal property such as bank accounts, is immune from the claims of
creditors pursuing debts owed by only one spouse. Appellant and his
spouse hold their home and joint bank accounts in this form, shielding
these assets from enforcement efforts. This legal protection underscores
the limited utility of further enforcement measures, as these jointly
held assets cannot be attached to satisfy the judgment against
Appellant individually. Virginia’s tenancy by the entirety laws further
shield joint marital assets, limiting recovery options for Appellees.
These realities, combined with Appellant’s anticipated bankruptcy,

make additional collection efforts futile in the absence of a stay.

Moreover, under Leiva-Perez, a movant’s inability to pay, coupled with
severe hardship, supports granting a stay, especially where public
interest considerations weigh heavily in favor of maintaining the status

quo during the appeal.

D. Precarious Financial Situation and Risk to Other Creditors
Case 5:18-cv-07182-EJD Document 268 Filed 12/27/24 Page 8 of 24

Appellant’s financial insolvency would jeopardize both his family’s
livelihood and the judgment’s collectibility. Additionally, Appellant has
a credit card liability of approximately $10,000, which further
illustrates his overall financial strain. While the liability is not
currently confirmed as joint or individual, it adds to the financial
challenges already faced by Appellant. Additionally, Appellant has
personal guarantees for business credit card debts related to two
separate businesses, totaling approximately $1,600 for one and minimal
amounts for the other. While modest, these obligations underscore that
forced bankruptcy would impact other creditors beyond Neo4j, further
justifying the need for equitable relief. The protections afforded by
Virginia’s tenancy by the entirety laws also underscore the
impracticality of continued enforcement measures. Jointly held marital
assets are beyond the reach of Appellees for this individual debt, and
further enforcement efforts will achieve little beyond causing
unnecessary hardship to Appellant and his family. Moreover, the
existence of personally guaranteed business debts adds another layer of
complexity and potential harm to third parties if bankruptcy is forced.

Without this relief, Appellant risks losing his government security
Case 5:18-cv-07182-EJD Document 268 Filed 12/27/24 Page 9 of 24

clearance—essential for his employment—and being forced into
bankruptcy, rendering any further collection efforts futile and harming

both Appellees and other creditors unnecessarily.

E. Public Interest

The appeal addresses issues of significant public importance,
particularly regarding compliance with the GPLv3 and the integrity of
open-source licensing. A ruling in this case risks setting a precedent
that could fundamentally undermine open-source software licenses,
jeopardizing decades of collaborative work that the technology
ecosystem relies upon. The forthcoming amicus brief from the Software
Freedom Conservancy (SFC) underscores the broader implications of
this appeal. The future of the GPLv3 and AGPLv3 frameworks—
cornerstones of modern open-source software licensing—and decades of
collaborative work to ensure software freedom are at stake in this
appeal. A ruling in favor of Neo4j risks setting a precedent that could
undermine these foundational principles, affecting not only the open-
source community but also the broader technology ecosystem that

depends on these licenses.
Case 5:18-cv-07182-EJD Document 268 Filed 12/27/24 Page 10 of 24

The Free Software Foundation (FSF), the copyright holder of the
AGPLwv38, has publicly confirmed that Neo4j’s addition of the Commons
Clause violated the license’s terms. See Exhibit B and Opening Brief
filed December 234, 2024. The FSC and FSF’s support underscores the
significant questions raised by this appeal and the need to preserve the

integrity of these licenses.

Public interest strongly favors granting a stay to ensure these critical
issues are resolved without undue prejudice. Additionally, as recognized
in Golden Gate Restaurant Ass’n, the balance of hardships and public
interest can justify a stay even when the likelihood of success on appeal
is moderate, provided there is a reasonable probability of success. The
appeal addresses issues of significant public importance, particularly
regarding compliance with the GPLv8 and the integrity of open-source
licensing. Public interest strongly favors granting a stay to ensure these

issues are resolved without undue prejudice.

Additionally, as recognized in Golden Gate Restaurant Ass’n, the

balance of hardships and public interest can justify a stay even when
Case 5:18-cv-07182-EJD Document 268 _ Filed 12/27/24 Page 11 of 24

the likelihood of success on appeal is moderate, provided there is a

reasonable probability of success.

IV. CONCLUSION

Appellant respectfully requests that this Court:

1. Grant a stay of judgment enforcement pending appeal without
bond, or;
2. Accept the proposed arrangement of $200 monthly payments as

alternative security.

This relief is essential to preserving fairness and enabling appellate

review without causing irreparable harm.

Respectfully submitted,

John Mark Suhy

Pro Se

Dated: 12/27/2024

8814 Danewood Dr
Alexandria, VA 22308

Tel: (708) 862-7780
Email: jmsuhy@gmail.com

Case 5:18-cv-07182-EJD Document 268 Filed 12/27/24 Page 12 of 24
Case 5:18-cv-07182-EJD Document 268 _ Filed 12/27/24 Page 13 of 24

CERTIFICATE OF SERVICE
I, John Mark Suhy Jr, hereby certify that on this December 27, 2024, I

electronically filed the foregoing motion, exhibit, and declaration with
the United States

Court of Appeals for the Ninth Circuit by using the appellate CM/ECF
system.

I further certify that all participants in the case are registered CM/ECF
users and that service will be accomplished by the appellate CM/ECF
system.

/s/ John Mark Suhy Jr

John Mark Suhy Jr

8814 Danewood Dr

Alexandria, VA 22308

jmsuhy@gmail.com

703-862-7780
Case 5:18-cv-07182-EJD Document 268 Filed 12/27/24 Page 14 of 24

Exhibit A
Greystones Garnishment Documents

Review Date 01/10/2025
‘ . FAIRFAX CIRCUIT COURT
GARNISHMENT SUMMONS

Virginia Code §§8.01-511, 512, 512.3
12924 14686

JUDGMENT CREDITOR: Neo4j, Inc.

Address: clo Gross, Romanick, Dean & DeSimone, P.C. Phone: “LO3- 273-1 400
3975 University Drive, Suite 410, Fairfax, VA 22030

JUDGMENT CREDITOR'S ATTORNEY: A. Charles Dean

Address: Gross, Romanick, Dean & DeSimone, P.C. Va. Bar #:, “4814

3975 University Drive, Suite 410, Fairfax. VA 22030 Phone: _“103- 2]3-1GC0
Versus

JUDGMENT DEBTOR: John Mark Suhy
Address: 8814 Danewood Drive, Alexandria, VA 22308 gov. n/a

Return Date: December 13,2024 at 9:00 a.m.
This is a garnishment against (check only one) [¥] judgment debtor's wages, salary or other compensation
[ ] Some other debt due or property of the judgment debtor specifically

GARNISHEE: Greystones Consulting Group, LLC d/b/a Greystones Group

Address: 100 M St. SE, Ste 914 Review Date: | | (0 nS
Washington, D.C. 20003 : :

STATEMENT
Judgment Principal $597,000.00 Maximum Portion of Disposable Earnings Subject to Garnishment
Interest 57,288.00 [ ]50% [ ]55% [ ]60% [ ] 65% (Ifnot specified, then
50%)
Judgment Costs oO [ ] State Taxes, 100%
Attorney's Fees 0 If none of the above are checked, then §34-29(a) applies.
Garnishment Costs 47:50
Credits 26,000.00 [ ] SUPPORT
Late Fees 0.00
Total Balance Due $ 628,335.50 The Garnishee shall rely on this amount.
Judgment Number: 663772 Date of Judgment: August 15, 2024
Place of Judgment: United States District Court for the Northern District of California Pee BS
ie =
TO ANY AUTHORIZED OFFICER: ye: = Ss 2
You are hereby commanded to serve this summons on the judgment debtor and the-garnishees =n
. . ~ | —
TO THE GARNISHEE: You are hereby commanded to: 5 ch DO
(1) file a written answer with: Circuit Court of Fairfax County, 4110 Chdin Bridge Road=Fbiffax, VA
22030 Attn: Civil Case Processing ar & mm

OR (2) deliver payment to this court payable to *"LERK, CIRCUIT COURT," 2S un
OR (3) appear before this court on the return date and time shown on this Sumn{dhs to answer the
_ Suggestion for Summons in Garnishment of the judgment creditor that, by reason of the lien of writ
of fieri facias, there is a liability as shown in the statement upon the garnishee.

As garnishee, you shall withhold from the judgment debtor any sums of money to which the judgment debtor is
or may be entitled from you during the period between the date of service of this summons on you and the date
for your appearance in court, subject to the following limitations: .

(1) The maximum amount which may be garnished is the "Total Balance Due" as shown on this summons.
(2) You shall not be liable to the judgment creditor for any property not specified in this summons.
(3) If the sums of money being garnished are earnings of the judgment debtor, then the provision of

CCR G-80 January 2024

i a EE Ee

FAIRFAX CIRCUIT COURT

“Maximum Portion of Disposable Earnings Subject to Garnishment shall apply.

or more employees, then
m his or her employer shall be considered
ich, following service on the garnishee-
debtor under the garnishee-employer's
ly return by mail to this

. . i nd
lf a garnishment summons is served on an employer having one thousa

money to which the judgment debtor is or may be entitled fro
those wages, salaries, commissions or other earnings wh
employer, are determined and are payable to the judgment ;
normal payroll procedure with a reasonable time allowance for making a time

court.
OCT
J 2024 CHRISTOPHER J. FALCON, CLERK

Date of Issuance of Summon

OCT 15 2024 By:
Date of Delivery of Writ of Fieri Facias
To Sheriff or any authorized Officer
if different from Date of Issuance of this Summons.

Ddputy Clerk

Creditor / Attorney Signature d
QW

RETURNS: The foliowing gamishee was served, according to law,

as indicated below, unless not found. Attorney Bar # 7481 4

G ti i

GARNISH eee eos ae ee ee eens rere
RETURNS: The judgment debtor was served, according to law, as

J PERSONAL SERVICE | L J FEDERAL SERVICE* indicated below, unless not found, with a copy of both this

summons and the § 8.01-512.4 form.

[ ] Being unable to make personal service, a copy was delivered in the
following manner:
[ ] Served on registered agent of the corporation. List name and title:

John Mark Suhy

ncnntnnnintninnitinniininnngnnnnsa JUDGMENT DEBTOR. we csee ieee
cen aopress 8814 Danewood Drive...
[ ] Delivered to family member (not temporary sojourner or guest) 7 Alexandria, VA 22308 _. .

age 16 or older at usual place ofabode of partynamedaboveafter [  tt™t—~—SSS

giving information of its purport. List name, age of recipient, and

relation of recipient to party named above. [ ] PERSONAL SERVICE

[ ] Being unable to make personal service, a copy wads delivered in
the Following manner:

[ ] Posted on front door or such other door as appears to be the main
entrance of usual place of abode. address listed above. (Other [ ] Delivered to family member (not temporary sojourner or guest)
authorized recipient not found.) age 16 or older at usual place of abode of party named above after
[ ] Delivered to a person found in charge of usual place of business giving information of its purport. List name. age of recipient, and
or employment during business hours and giving information of its relation of recipient to party named above.
purpose.
[ ] Served on the Secretary of the Commonwealth
[ ] Served on the Clerk of the State Corporation Commission, pursuant to sesaneeeessseneensesccsnasenssusceonananenanvarsesninnaniaceannascangacnies sauiaenshy sraceuecsnneeeseeene
§8.01-513. [ J Posted on front door or such other door as appears to be the main
entrance of usual place of abode. address listed above. (Other

[ ] Not found a
authorized recipient not found.)

[ ] Copy mailed to judgment debtor afier serving the gamishee on date of

service unless a different date of mailing is shown.
vn [ ] Served on Secretary of the Commonwealth.

DATE OF MAILING

[ ] Not found

SERVING OFFICER AND/OR CLERK

svvtvstvntietntevnes tannins, uatsnaninneenan Hf GARNISHEE. Se

DATE OF SERVICE

The garnishee, when a federal agency, may be served either personally or by ceccsssmtinien deeneiie sitet [Of DEBTOR,
certified or registered mail, return receipt requested. DATE OF SERVICE

{ ] Certified mail
DATE OF SERVICE

Sp! aeehginasdess S:

Case 5:18-cv-07182-EJD Document 268 Filed 12/27/24 Page17 of 24

EXHIBIT B

Free Software Foundation (FSF) Cease-and-Desist Letter to Neo4j, Inc.

Dated: November 13, 2023
Case 5:18-cv-07182-EJD Document 268 Filed 12/27/24 Page 18 of 24

FREE SOFTWARE

FOUNDATION Page 1

November 13, 2023

Neo4j, Inc.

400 Concar Dr.

San Mateo, CA 94402, USA
Attention: Legal Department

Re: Neo4J Cease and Desist

We have learned of your continued use of the Free Software Foundation's ("FSF") rights
related to the GNU Affero General Public License version 3 ("GNU AGPLv3") in a confusing
and unauthorized manner. The FSF holds the copyright to the GNU AGPLv3, including all
rights to make derivative works, as well as trademark rights to "GNU AFFERO GENERAL
PUBLIC LICENSE" and related marks used in it, including:

* FSF (USPTO 87909272, EUIPO 003119691);
* Free Software Foundation (USPTO 87909237, EUIPO 003120334);
* GNU (USPTO 85380218)

While we are pleased when people use the GNU AGPLv3 to distribute and license software,
we want to ensure that software freedom is protected as intended. The FSF allows everyone to
use its licenses to grant and protect the fundamental freedoms to use programs for any purpose,
study and change them, and sell or give away copies of programs or their modified versions.
However, the FSF does not allow the making or distributing of altered versions of the licenses,
including the GNU AGPLv3, resulting in unauthorized derivative works. Nor do we allow
others to use our registered or common law trademarks without authorization.

We are referring to the README file[1] distributed by Neo4j releases 3.4.0-3.5.3. Among
other issues, it clearly states in the "Extending" section that the software is available under the
GNU AGPLv3. However, you then inappropriately use our marks in the "Licensing" section,
where it states that some of the modules of Neo4j Enterprise are "licensed under AGPLV3 with
the Commons Clause." You are not authorized to use any of our marks including "GNU,"
"AGPL," and "Affero General Public License," or any other variation of those marks in
connection with any licenses other than to refer to the unmodified licenses as published by us.
You are also not permitted to make unauthorized derivative works of the GNU AGPLv3 by
adding additional text to the license as was done in LICENSE.txt accompanying
aforementioned releases.

Your distribution of these releases has caused and continues to cause confusion among
consumers since the README distributed by you clearly states that each of these releases is

51 Franklin St. 5" Floor Boston MA 02110 U.S.A
tel: 1.617.542.5942 | fax: 1.617.542.2652 | www.fsf.org
Case 5:18-cv-07182-EJD Document 268 _ Filed 12/27/24 Page 19 of 24

FREE SOFTWARE

FOUNDATION Page 2

"licensed under the [GNU] AGPLv3," but confusingly suggests that the Commons Clause
would restrict a licensee's rights under our license.

The GNU AGPLv3 by its terms, including as reproduced by you in the LICENSE.txt, permits
all licensees to remove any additional terms that are "further restrictions" under the GNU
AGPLvs3. The text of the GNU AGPLv3 makes this clear as it says, "[i]f the Program as you
received it, or any part of it, contains a notice stating that it is governed by this License along
with a term that is a further restriction, you may remove that term[,]" and the GNU AGPLv3
clearly defines the phrase "this License" to mean "version 3 of the GNU Affero General Public
License." It is well known that the "Commons Clause" is a "further restriction" under the terms
of the GNU AGPLv3 and therefore all licensees under the GNU AGPLvV3 are permitted to
remove it[2].

We encourage you to clarify the situation by making it unambiguous that these software
releases are licensed under the GNU AGPLv3 and users who already received copies of the
software are allowed to remove any further restriction. You can do this by simply stating that
the releases are licensed under the GNU AGPLv3 without any further restrictions and
removing all references to the "Commons Clause."

However, if your altered version of the license is an attempt to create a proprietary license, you
are not allowed to use any of the FSF's family of GNU General Public Licenses or any of the
FSF's trademarks, registered or unregistered, for that purpose. The FSF has no wish to advise
or request drafting a new proprietary software license, but we realize that we cannot forbid you
from doing so. Thus, we believe that in such case it is our duty to minimize the harm resulting
from confusing users with attempts to release proprietary software under a license using the
name, text, and trademarks associated with free software.

The conditions on which we authorize the creation of derivative works of our licenses are
stated in our FAQ[3]. Our FAQ clearly outlines the steps required, including removing specific
sections of the license text and removing any references to our marks. These conditions avoid
confusing uses of the GNU AGPLv3 and the FSF's trademarks included in it.

We hope to cooperate to resolve this matter amicably. Neo4j software mentioned above is
publicly available on Github as of this writing and also advertised by Neo4j, Inc. [4][5] (the
latter not mentioning 3.4 release). If Neo4j, Inc. is currently making any other unauthorized use
of any of FSF's copyrights or trademark rights related to the GNU AGPLV3, the above requests
apply to such other copies and uses as well. Please confirm in writing within 14 days from the
receipt of this letter that you have taken steps to remedy this situation.

Sincerely,

Zoé Kooyman,
Executive Director
Free Software Supporter

51 Franklin St. 5" Floor Boston MA 02110 U.S.A
tel: 1.617.542.5942 | fax: 1.617.542.2652 | www.fsf.org
Case 5:18-cv-07182-EJD Document 268 Filed 12/27/24 Page 20 of 24

FREE SOFTWARE

FOUNDATION Page 3

[1] README. asciidoc available at
https://github.com/neo4j/neo4j/tree/3.4#readme and related tagged releases

[2] "Can I modify the GPL and make a modified license?" available at
https://www.gnu.org/licenses/gpl-fag.html#ModifyGPL

[3] "I'd like to license my code under the GPL, but I'd also like to make it clear that it can't be
used for military and/or commercial uses. Can I do this?" available at

https://www.gnu.org/licenses/gpl-faq.html#NoMilitary

[4] "Neo4j Debian Packages" available at https://debian.neo4j.com/

[5] "Neo4j RPM Packages" available at https://yum.neo4j.com/

51 Franklin St. 5" Floor Boston MA 02110 U.S.A
tel: 1.617.542.5942 | fax: 1.617.542.2652 | www.fsf.org
Case 5:18-cv-07182-EJD Document 268 Filed 12/27/24 Page 21 of 24

DECLARATION OF JOHN MARK SUHY IN SUPPORT OF
EMERGENCY MOTION TO STAY ENFORCEMENT OF
JUDGMENT PENDING APPEAL

I, John Mark Suhy Jr, declare as follows:

1. Personal Financial Situation:

e JI am the primary breadwinner for my family. My monthly
living expenses include essential costs such as rent/mortgage,
utilities, food, and transportation.

e My wages are currently subject to a 25% garnishment as part of
the enforcement of the judgment entered in favor of Neo4j, Inc.,
which has significantly impacted my ability to meet my family’s

basic living expenses.

2. Intent to File Chapter 7 Bankruptcy:

e Due to the financial hardship caused by garnishment and my
inability to satisfy the judgment, I intend to file for Chapter 7
bankruptcy in Virginia on January 9, 2025, the day before the
garnishment review scheduled in Fairfax Circuit Court on

January 10, 2025. (Exhibit A)
Case 5:18-cv-07182-EJD Document 268 Filed 12/27/24 Page 22 of 24

e Filing bankruptcy will automatically halt all collection efforts
under 11 U.S.C. § 362 and likely render the judgment

uncollectible, eliminating any potential recovery for Neo4j, Inc.

3. Tenancy by the Entirety Protections: My wife and I own all
our property, including our home and bank accounts, as tenants
by the entirety under Virginia law. These jointly held assets are
immune from attachment by creditors pursuing claims against me
individually, further limiting Neo4j’s ability to recover through
enforcement measures.

4, Creditors and Liabilities: I also have a personal credit card
liability of approximately $10,000 and personal guarantees for two
business credit cards, one with a balance of approximately $1,600
and another with minimal debt. These obligations, while modest,
illustrate my overall financial strain and demonstrate that forced
bankruptcy would negatively affect other creditors beyond Neo4j.

5. Public Interest Considerations: This appeal raises significant
public interest issues concerning open-source licensing compliance
under the GPLv3 and AGPLv3 frameworks. A ruling in favor of

Neo4j could undermine these foundational licenses, jeopardizing
Case 5:18-cv-07182-EJD Document 268 Filed 12/27/24 Page 23 of 24

decades of work within the open-source community and technology
ecosystem. The forthcoming amicus brief from the Free Software
Foundation underscores the broader implications of this case.

. Alternative Security Proposal: Despite my financial hardship,
I propose to pay $200 per month as alternative security during the
pendency of this appeal. This demonstrates my good faith and
willingness to comply with the Court’s judgment while minimizing
prejudice to Neo4j.

. Urgency of the Motion: This motion must be decided on an
emergency basis, as the garnishment review in Fairfax Circuit
Court is scheduled for January 10, 2025, and my intent to file
bankruptcy on January 9, 2025, underscores the need for
immediate relief.

. Exhibit A: Attached as Exhibit A to this declaration is a copy of
the garnishment summons issued by the Fairfax Circuit Court for
review on January 10, 2025. This document illustrates the
urgency of this motion and the significant impact garnishment

proceedings will have on my financial situation.
Case 5:18-cv-07182-EJD Document 268 Filed 12/27/24 Page 24 of 24

9. Exhibit B: Attached as Exhibit B is a cease and desist letter sent
from the Free Software Foundation (FSF) to Neo4j related to the

AGPLwv38 license in which the FSF is the copyright holder of.

I declare under penalty of perjury under the laws of the United States

of America that the foregoing is true and correct.

Executed on 12/27/2024
From Alexandria, VA

John Mark Suhy Jr.

/s/ John Mark Suhy Jr. Pro Se
8814 Danewood Dr
Alexandria, VA 22308
jmsuhy@gmail.com
703-862-7780
